       Case 1:17-cv-20023-WJZ Document 21 Entered on FLSD Docket 06/14/2018 Page 1 of 1
OAO 187 (Rev. 7/87) Exhibit and Witness List


                                                  UNITED STATES DISTRICT COURT
                          SOUTHERN                                                     DISTRICT OF                                    FLORIDA



                 JOSEPH AKINS OWANIKIN                                                                            EXHIBIT AND WITNESS LIST
                           V.
                     UNITED STATES                                                                                17-20023-CIV-ZLOCH

PRESIDING JUDGE                                                     PLAINTIFF=S ATTORNEY                                   DEFENDANT=S ATTORNEY
PATRICK A. WHITE                                                    Randy Golder (CJA)                                     Roger Cruz (AUSA)
TRIAL DATE (S)                                                      COURT REPORTER                                         COURTROOM DEPUTY
Evidentiary Hearing: 6/14/18                                        Diane Peede                                            Elizabeth Rodriguez
MOV.      GOVT.       DATE
 NO.       NO.       OFFERED          MARKED        ADMITTED

     X                6/14/18                                       Joseph Akins Owanikin sworn & testified
               X                                                    Michael Spivack, AFPD

               A                          X               X         Composite Exhibit: J&C (page 1); FPO Case Diary Sheet, and FDO Legacy Workload Analysis




* Include a notation as to the location of any exhibit not held with the case file or not available because of size.

                                                                                                                                    Page 1 of    1   Pages
